            Case: 21-16737, 12/08/2021, ID: 12310068, DktEntry: 6, Page 1 of 1




                      UNITED STATES COURT OF APPEALS                       FILED
                              FOR THE NINTH CIRCUIT                         DEC 8 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                         No.    21-16737

                  Plaintiff-Appellee,             D.C. No.
                                                  2:21-mc-00098-TLN-AC
  v.                                              Eastern District of California,
                                                  Sacramento
STEVEN ZINNEL,
                                                  ORDER
                  Defendant-Appellant.

and

DAVID ZINNEL,

                  Claimant-Appellee,

Before: O'SCANNLAIN, THOMAS, and TALLMAN, Circuit Judges.

       A review of the record demonstrates that this court lacks jurisdiction over

this appeal because the order challenged in the appeal is not final or appealable.

See 28 U.S.C. § 1291. Consequently, this appeal is dismissed for lack of

jurisdiction.

       All pending motions are denied as moot.

       DISMISSED.




MF/Pro Se
